Case 23-12825-MBK Doc 614-15 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 14 to Declaration of Daniel J. Merrett Page 1 of 3



                                 EXHIBIT 14
Case 23-12825-MBK Doc 614-15 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 14 to Declaration of Daniel J. Merrett Page 2 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF NEW JERSEY

      IN RE:                        .          Case No. 23-12825(MBK)
                                    .
      LTL MANAGEMENT LLC,           .
                                    .          U.S. Courthouse
                Debtor.             .          402 East State Street
                                    .          Trenton, NJ 08608
      . . . . . . . . . . . . . . . .
                                    .
      LTL MANAGEMENT LLC,           .          Adv. No. 23-01092(MBK)
                                    .
                Plaintiff,          .
                                    .
           v.                       .
                                    .
      THOSE PARTIES LISTED ON       .
      APPENDIX A TO COMPLAINT AND   .
      JOHN AND JANE DOES 1-1000,    .
                                    .
                Defendants.         .          Thursday, April 20, 2023
      . . . . . . . . . . . . . . . .          12:02 p.m.

                             TRANSCRIPT OF RULING ON
           MEMORANDUM OF LAW IN SUPPORT OF MOTION BY MOVANT ANTHONY
         HERNANDEZ VALADEZ FOR AN ORDER (I) GRANTING RELIEF FROM THE
        AUTOMATIC STAY, SECOND AMENDED EX PARTY TEMPORARY RESTRAINING
      ORDER, AND ANTICIPATED PRELIMINARY INJUNCTION, AND (II) WAIVING
            THE FOURTEEN-DAY STAY UNDER FEDERAL RULE OF BANKRUPTCY
         PROCEDURE 400l(a)(3) [DOCKET 7l]; AND DEBTOR'S MOTION FOR AN
       ORDER (I) DECLARING THAT THE AUTOMATIC STAY APPLIES OR EXTENDS
         TO CERTAIN ACTIONS AGAINST NON DEBTORS OR (II) PRELIMINARILY
             ENJOINING SUCH ACTIONS AND (III) GRANTING A TEMPORARY
        RESTRAINING ORDER EX PARTE PENDING A HEARING ON A PRELIMINARY
          INJUNCTION [ADVERSARY DOCKET 2]; AND MOTION TO SEAL; AND
                           SERVICE PROCEDURES MOTION
                     BEFORE THE HONORABLE MICHAEL B. KAPLAN
                      UNITED STATES BANKRUPTCY COURT JUDGE

      Audio Operator:                          Kiya Martin

      Proceedings recorded by electronic sound recording, transcript
                     produced by transcription service.
      ______________________________________________________________

                           J&J COURT TRANSCRIBERS, INC.
                               268 Evergreen Avenue
                            Hamilton, New Jersey 08619
                           E-mail: jjcourt@jjcourt.com

                    (609) 586-2311       Fax No. (609) 587-3599
Case 23-12825-MBK Doc 614-15 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 14 to Declaration of Daniel J. Merrett Page 3 of 3

                                                                                  7
   1 the date of the second filing.

   2              Well, certain things have changed.        Claims against

   3 the debtor have soared from approximately 41,000 to in all

   4 likelihood well over a 100,000.         Are these new claims

   5 supportable?     Tuesday provided more speculation than answers.

   6 Does the increased volume of claims add to or create financial

   7 distress for this debtor?        Maybe.   Maybe not.

   8              Since the first filing, the acknowledged floor for

   9 the debtor's talc liability has increased from 2 billion to 8.9

  10 billion with questions remaining as to whether this sum would

  11 cover the billions claim due for third-party providers, state

  12 regulators, Canadian class claimants, indemnified parties, and

  13 others.

  14              Does this increase floor of debt add to or create

  15 financial distress for this debtor?          Again, maybe.    Maybe not.

  16 Since the first filing, the debtor's funding resources have

  17 been reduced from 61 billion to possibly 30 billion plus.              The

  18 reduction certainly appears manufactured by the debtor, HoldCo,

  19 and J&J in response to the Third Circuit's ruling.            Does this

  20 reduction in funding add to or create financial distress for

  21 this debtor?     Maybe.    Maybe not.

  22              Does the manner in which the transactions were

  23 undertaken give rise to an independent bases for finding bad

  24 faith?    Possibly.    Do the transactions give rise to fraudulent

  25 transfer liability for the benefit of the debtor's creditors?




                                   WWW.JJCOURT.COM
